Case 2:21-cv-07058-MRW Document9 Filed 10/13/21 Page1lof1i Page ID#:28

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES - GENERAL
Case No. CV 21-7058 MRW Date October 13, 2021

 

Title Roy Yiun v. Lieu Management, LLC, et al

 

Present: The Honorable Michael R. Wilner

 

 

Veronica Piper None
Deputy Clerk Court Smart / Reporter
Attorneys Present for Plaintiff: Attorneys Present for Defendant:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER DISMISSING CASE

Plaintiff filed a notice dismissing this case without prejudice. (Docket # 8.) This action is
dismissed without prejudice.

CV-90 (10/08) CIVIL MINUTES - GENERAL Page 1 of 1
